Entered: February 12th, 2018
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Signed: February 9th, 2018

SO ORDERED




                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF MARYLAND
                                                Greenbelt Division

             In re:

             THE CONDOMINIUM ASSOCIATION OF                           Case No. 18-10334
             THE LYNNHILL CONDOMINIUM,
                                                                      Chapter 11
                                     Debtor.1


                                   CONSENT ORDER RESOLVING THE
                           LIMITED OBJECTION OF DRAGONE REALTY, LLC TO
                      MOTION FOR APPROVAL OF AUCTION AND BIDDING PROCEDURES

                      The matter came before this Court for consideration of: (A) the Debtor’s Motion for an

         Order (I) Approving AHH16 Development, LLC as “Stalking Horse” By Approving the Break-

         Up Fee and Expense Reimbursement, (II) Approving Auction and Bidding Procedures and (III)

         Granting Related Relief [Doc. 93] (the “Motion”)2 and (B) the Limited Objection of Dragone

         Realty, LLC to Motion for Approval of Auction and Bidding Procedures [Doc. 130] (the




         1
             The Debtor’s federal identification number is XX-XXXXXXX.
         2
             Capitalized terms used herein but not defined have the meaning given such terms in the Motion or the “Bidding
             Procedures” [Doc. 143, Ex. 1], as applicable.



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“Limited Objection”). For the reasons stated on the record at the hearing held on January 31,

2018, and as stipulated by the parties hereto, it shall be and hereby is ORDERED:

       1.        The Limited Objection is withdrawn by Dragone in light of the resolution placed

on the record and set forth in this order (this “Consent Order”).

       2.        For purposes of the Bidding Procedures, Dragone shall become a Qualified

Bidder and the Dragone PSA (defined below) shall become a Qualified Bid, upon satisfaction of

the requirements set forth in Paragraph 4 of this Consent Order. In the absence of a higher and

better Qualified Bid received by the Debtor by the Bid Deadline (defined below), the purchase

price of $14,500,000.00 (the “Dragone Purchase Price”) set forth in the Purchase and Sale

Agreement attached as Exhibit A to the Notice of Further Revised Bid of Dragone Realty, LLC

[Doc. 132] (the “Dragone PSA”) shall, subject to Dragone’s satisfaction of Paragraph 4 of this

Consent Order, be the Auction Baseline Bid in accordance with the Bidding Procedures, subject

to the conditions of this Consent Order.

       3.        Dragone and Kelley Drye & Warren LLP (“Kelley Drye”) have confirmed that

Kelley Drye presently holds $250,000.00 as the initial deposit under the Dragone PSA (the

“Initial Dragone Deposit”). Kelley Drye shall provide written evidence of such deposit to

Debtor’s counsel by Friday, February 9, 2018. Kelley Drye shall continue to hold the Initial

Dragone Deposit until paid or transferred as provided in this Consent Order or in another order

of this Court.

                 4.       On or before February 16, 2018 at 5:00 p.m. EST (the “Bid Deadline”),

Dragone shall deliver to Madison Title Agency, LLC (the “Escrow Agent”) the sum of

$1,200,000.00 (the “Second Dragone Deposit”), and upon receiving written confirmation from

the Escrow Agent of the Escrow Agent’s receipt of the Second Dragone Deposit, Kelley Drye




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shall transfer the Initial Dragone Deposit to the Escrow Agent, thereby increasing the total

deposit under the Dragone PSA to $1,450,000.00 (the “Dragone Deposit”). The Dragone

Deposit shall constitute the “Deposit” under the Dragone PSA (with such amount superseding

the defined amount of the Deposit of $250,000.00 in the Dragone PSA) and shall constitute a

Good Faith Deposit in accordance with the Bidding Procedures. In addition, Dragone hereby

agrees that (i) notwithstanding anything to the contrary in the Dragone PSA, there are no

contingencies in the Dragone PSA other than the contigencies in the PSA; (ii) its bid under the

Dragone PSA is irrevocable until the Combined Hearing, and if the Dragone PSA is selected as

either the Successful Bid or a Back-Up Bid, then its bid under the Dragone PSA will remain

irrevocable until the earlier of the closing on the Sale of the Property and March 25, 2018 (and

Dragone will close on the purchase of the Property as provided in the Dragone PSA and this

Consent Order within five (5) business days’ notice if Dragone’s bid under the Dragone PSA is

selected as a Back-Up Bid); (iii) Dragone will comply with reasonable requests for additional

information from the Debtor; and (iv) notwithstanding anything to the contrary in the Dragone

PSA, Dragone is not entitled to any break-up fee, termination fee or similar type of payment or

reimbursement under the Dragone PSA. Moreover, by the Bid Deadline, Dragone shall deliver

to the Debtor (i) commercially reasonable evidence of its ability to consummate the Sale and

(ii) information regarding corporate authority and identity disclosure as required under items (C)

and (D) of the Bid Requirements under the Bidding Procedures.

       5.      Nothwithstanding anything to the contrary in the Dragone PSA or this Consent

Order, if Dragone fails to comply with any of the requirements set forth in Paragraph 4 of this

Consent Order as and when provided above, then the Debtor is hereby authorized, but not

directed, to do any one or more of the following: (i) determine that the Dragone PSA is not the




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Auction Baseline Bid or a Qualified Bid and that Dragone is not a Qualified Bidder, (ii) cancel

the Auction (if no other Qualified Bidder has submitted a Qualified Bid to the Debtor before the

Bid Deadline), and (iii) direct Kelley Drye to pay the Initial Dragone Deposit to the Debtor,

without the need for further order of this Court; upon such direction, if Kelley Drye has not

received written confirmation (and proof) from the Escrow Agent of the Escrow Agent’s receipt

of the Second Dragone Deposit by the Bid Deadline (copies of which shall also be

simultaneously sent to Debtor’s counsel), Kelley Drye is hereby ORDERED to pay to the

Debtor the Initial Dragone Deposit.

       6.      Upon receipt by the Debtor of the Initial Dragone Deposit as provided in

Paragraph 5(iii), (i) the Dragone PSA shall be deemed to be withdrawn and terminated by

Dragone, (ii) the Initial Dragone Deposit shall be deemed liquiated damages therefor, and (iii)

the Debtor shall not be entitled to any damages, rights or remedies against Dragone and Dragone

shall not be entitled to any damages, rights or remedies against the Debtor.

       7.      For purposes of construing this Consent Order, none of the parties hereto shall be

deemed to have been the drafter of the Consent Order.

       8.      Each of the undersigned (a) represents that it has been duly authorized to enter

into this Consent Order and (b) requests that this Court approve this Consent Order as an order of

this Court.

       9.      This Court shall retain jurisdiction to hear any matters or disputes arising from or

relating to this Consent Order.

       10.     Facsimile or other electronic copies of signatures on this Consent Order are

acceptable, and a facsimile or other electronic copy of a signature on this Consent Order is

deemed an original.




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       11.       This Consent Order may be executed in counterparts, each of which is deemed an

original, but when taken together constitute one and the same document.


AGREED AND STIPULATED:

Pillsbury Winthrop Shaw Pittman LLP                         Kelley Drye & Warren LLP

/s/ Patrick Potter                                          /s/ Benjamin D. Feder
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Fax (713) 276-7673
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Proposed Counsel for the Debtor



       I HEREBY CERTIFY that the terms of the copy of the consent order submitted to the

Court are identical to those set forth in the original consent order; and the signatures represented

by the /s/________ on this copy reference the signatures of consenting parties on the original

consent order.

                                                            /s/ Patrick Potter




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cc:   Patrick J. Potter
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      All Parties Requesting Notice

                                            End of Order




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